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                                 https://nyti.ms/2GrpMsI



Trump Tied Ukraine Aid to Inquiries He Sought, Bolton Book Says
Drafts of the book outline the potential testimony of the former national security adviser if he were called as a witness in the presidentʼs
impeachment trial.




By Maggie Haberman and Michael S. Schmidt

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WASHINGTON — President Trump told his national security adviser in August that he wanted to continue freezing $391 million in
security assistance to Ukraine until ofﬁcials there helped with investigations into Democrats including the Bidens, according to an
unpublished manuscript by the former adviser, John R. Bolton.

The president’s statement as described by Mr. Bolton could undercut a key element of his impeachment defense: that the holdup in aid
was separate from Mr. Trump’s requests that Ukraine announce investigations into his perceived enemies, including former Vice
President Joseph R. Biden Jr. and his son Hunter Biden, who had worked for a Ukrainian energy ﬁrm while his father was in ofﬁce.

Mr. Bolton’s explosive account of the matter at the center of Mr. Trump’s impeachment trial, the third in American history, was included in
drafts of a manuscript he has circulated in recent weeks to close associates. He also sent a draft to the White House for a standard review
process for some current and former administration ofﬁcials who write books.

Multiple people described Mr. Bolton’s account of the Ukraine affair.

The book presents an outline of what Mr. Bolton might testify to if he is called as a witness in the Senate impeachment trial, the people
said. The White House could use the pre-publication review process, which has no set time frame, to delay or even kill the book’s
publication or omit key passages.

Just after midnight on Monday, Mr. Trump denied telling Mr. Bolton that the aid was tied to investigations. “If John Bolton said this, it was
only to sell a book,” he wrote on Twitter, reprising his argument that the Ukrainians themselves felt “no pressure” and falsely asserting
that the aid was released ahead of schedule.

Over dozens of pages, Mr. Bolton described how the Ukraine affair unfolded over several months until he departed the White House in
September. He described not only the president’s private disparagement of Ukraine but also new details about senior cabinet ofﬁcials who
have publicly tried to sidestep involvement.

For example, Secretary of State Mike Pompeo acknowledged privately that there was no basis to claims by the president’s lawyer Rudolph
W. Giuliani that the ambassador to Ukraine was corrupt and believed Mr. Giuliani may have been acting on behalf of other clients, Mr.
Bolton wrote.

Mr. Bolton also said that after the president’s July phone call with the president of Ukraine, he raised with Attorney General William P.
Barr his concerns about Mr. Giuliani, who was pursuing a shadow Ukraine policy encouraged by the president, and told Mr. Barr that the
president had mentioned him on the call. A spokeswoman for Mr. Barr denied that he learned of the call from Mr. Bolton; the Justice
Department has said he learned about it only in mid-August.

And the acting White House chief of staff, Mick Mulvaney, was present for at least one phone call where the president and Mr. Giuliani
discussed the ambassador, Mr. Bolton wrote. Mr. Mulvaney has told associates he would always step away when the president spoke with
his lawyer to protect their attorney-client privilege.
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                                   Marie L. Yovanovitch, the former United States ambassador to Ukraine, testiﬁed that she
                                   was “devastated” that the president viliﬁed her. Anna Moneymaker/The New York Times



During a previously reported May 23 meeting where top advisers and Senator Ron Johnson, Republican of Wisconsin, briefed him about
their trip to Kyiv for the inauguration of President Volodymyr Zelensky, Mr. Trump railed about Ukraine trying to damage him and
mentioned a conspiracy theory about a hacked Democratic server, according to Mr. Bolton.

The White House did not provide responses to questions about Mr. Bolton’s assertions, and representatives for Mr. Johnson, Mr. Pompeo
and Mr. Mulvaney did not respond to emails and calls seeking comment on Sunday afternoon.

Mr. Bolton’s lawyer blamed the White House for the disclosure of the book’s contents. “It is clear, regrettably, from the New York Times
article published today that the pre-publication review process has been corrupted and that information has been disclosed by persons
other than those properly involved in reviewing the manuscript,” the lawyer, Charles J. Cooper, said Sunday night.

He said he provided a copy of the book to the White House on Dec. 30 — 12 days after Mr. Trump was impeached — to be reviewed for
classiﬁed information, though, he said, Mr. Bolton believed it contained none.

The submission to the White House may have given Mr. Trump’s aides and lawyers direct insight into what Mr. Bolton would say if he
were called to testify at Mr. Trump’s impeachment trial. It also intensiﬁed concerns among some of his advisers that they needed to block
Mr. Bolton from testifying, according to two people familiar with their concerns.

The White House has ordered Mr. Bolton and other key ofﬁcials with ﬁrsthand knowledge of Mr. Trump’s dealings not to cooperate with
the impeachment inquiry. Mr. Bolton said in a statement this month that he would testify if subpoenaed.

In recent days, some White House ofﬁcials have described Mr. Bolton as a disgruntled former employee, and have said he took notes that
he should have left behind when he departed the administration.

Mr. Trump told reporters last week that he did not want Mr. Bolton to testify and said that even if he simply spoke out publicly, he could
damage national security.

“The problem with John is it’s a national security problem,” Mr. Trump said at a news conference in Davos, Switzerland. “He knows some
of my thoughts. He knows what I think about leaders. What happens if he reveals what I think about a certain leader and it’s not very
positive?”

“It’s going to make the job very hard,” he added.

The Senate impeachment trial could end as early as Friday without witness testimony. Democrats in both the House and Senate have
pressed for weeks to include any new witnesses and documents that did not surface during the House impeachment hearings to be fair,
focusing on persuading the handful of Republican senators they would need to join them to succeed.

But a week into the trial, most lawmakers say the chances of 51 senators agreeing to call witnesses are dwindling, not growing.

Democrats, including Speaker Nancy Pelosi and Senator Chuck Schumer, the minority leader, said the Bolton manuscript underscored the
need for him to testify, and the House impeachment managers demanded after this article was published that the Senate vote to call him.
“There can be no doubt now that Mr. Bolton directly contradicts the heart of the president’s defense,” they said in a statement.

Republicans, though, were mostly silent; a spokesman for the Senate majority leader, Mitch McConnell of Kentucky, declined to comment.
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Mr. Bolton would like to testify for several reasons, according to associates. He believes he has relevant information, and he has also
expressed concern that if his account of the Ukraine affair emerges only after the trial, he will be accused of holding back to increase his
book sales.

Mr. Bolton, 71, a ﬁxture in conservative national security circles since his days in the Reagan administration, joined the White House in
2018 after several people recommended him to the president, including the Republican megadonor Sheldon Adelson.

But Mr. Bolton and Mr. Trump soured on each other over several global crises, including Iranian aggression, Mr. Trump’s posture toward
Russia and, ultimately, the Ukraine matter. Mr. Bolton was also often at odds with Mr. Pompeo and Mr. Mulvaney throughout his time in
the administration.

Key to Mr. Bolton’s account about Ukraine is an exchange during a meeting in August with the president after Mr. Trump returned from
vacation at his golf club in Bedminster, N.J. Mr. Bolton raised the $391 million in congressionally appropriated assistance to Ukraine for its
war in the country’s east against Russian-backed separatists. Ofﬁcials had frozen the aid, and a deadline was looming to begin sending it
to Kyiv, Mr. Bolton noted.

He, Mr. Pompeo and Defense Secretary Mark T. Esper had collectively pressed the president about releasing the aid nearly a dozen times
in the preceding weeks after lower-level ofﬁcials who worked on Ukraine issues began complaining about the holdup, Mr. Bolton wrote.
Mr. Trump had effectively rebuffed them, airing his longstanding grievances about Ukraine, which mixed legitimate efforts by some
Ukrainians to back his Democratic 2016 opponent, Hillary Clinton, with unsupported accusations and outright conspiracy theories about
the country, a key American ally.

Mr. Giuliani had also spent months stoking the president’s paranoia about the American ambassador to Ukraine at the time, Marie L.
Yovanovitch, claiming that she was openly anti-Trump and needed to be dismissed. Mr. Trump had ordered her removed as early as April
2018 during a private dinner with two Giuliani associates and others, a recording of the conversation made public on Saturday showed.

In his August 2019 discussion with Mr. Bolton, the president appeared focused on the theories Mr. Giuliani had shared with him, replying
to Mr. Bolton’s question that he preferred sending no assistance to Ukraine until ofﬁcials had turned over all materials they had about the
Russia investigation that related to Mr. Biden and supporters of Mrs. Clinton in Ukraine.

The president often hits at multiple opponents in his harangues, and he frequently lumps together the law enforcement ofﬁcials who
conducted the Russia inquiry with Democrats and other perceived enemies, as he appeared to do in speaking to Mr. Bolton.

Mr. Bolton also described other key moments in the pressure campaign, including Mr. Pompeo’s private acknowledgment to him last
spring that Mr. Giuliani’s claims about Ms. Yovanovitch had no basis and that Mr. Giuliani may have wanted her removed because she
might have been targeting his clients who had dealings in Ukraine as she sought to ﬁght corruption.

Ms. Yovanovitch, a Canadian immigrant whose parents ﬂed the Soviet Union and Nazis, was a well-regarded career diplomat who was
known as a vigorous ﬁghter against corruption in Ukraine. She was abruptly removed last year and told the president had lost trust in her,
even though a boss assured her she had “done nothing wrong.”




                                   Rudolph W. Giuliani, Mr. Trump’s personal lawyer, pursued a shadow foreign policy in
                                   Ukraine with the president’s encouragement. Anna Moneymaker/The New York Times



Mr. Bolton also said he warned White House lawyers that Mr. Giuliani might have been leveraging his work with the president to help his
private clients.
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At the impeachment trial, Mr. Trump himself had hoped to have his defense call a range of people to testify who had nothing to do with his
efforts related to Ukraine, including Hunter Biden, to frame the case around Democrats. But Mr. McConnell repeatedly told the president
that witnesses could backﬁre, and the White House has followed his lead.

Mr. McConnell and other Republicans in the Senate, working in tandem with Mr. Trump’s lawyers, have spent weeks waging their own
rhetorical battle to keep their colleagues within the party tent on the question of witnesses, with apparent success. Two of the four
Republican senators publicly open to witness votes have sounded notes of skepticism in recent days about the wisdom of having the
Senate compel testimony that the House did not get.

Since Mr. Bolton’s statement, White House advisers have ﬂoated the possibility that they could go to court to try to obtain a restraining
order to stop him from speaking. Such an order would be unprecedented, but any attempt to secure it could succeed in tying up his
testimony in legal limbo and scaring off Republican moderates wary of letting the trial drag on when its outcome appears clear.
Katie Benner, Nicholas Fandos and Sheryl Gay Stolberg contributed reporting.
